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                                       No. 18-8300
                                  (Filed June 29, 2018)
                                NOT FOR PUBLICATION

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                       *                                            FILED
EDWARD THOMAS KENNEDY, *                                          JUN 2 9 2018
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                   Plaintiff,                                   U.S. COURT OF
                        *                                      FEDERAL CLAIMS
             V.         *
                        *
THE UNITED STATES,      *
                        *
             Defendant. *
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************************
                                       ORDER

       On June 11, 2018, the Clerk's office r eceived two sets of documents from
plaintiff, which were filed as complaints in two separate cases, number 18-826C and
18-830C. The complaints are identical except for small differences in the local
governments each complaint identifies in its second paragraph, slight differences in
paragraph grouping, and an "action of trover" included in the companion case but
not this one. For the reasons stated in the Memorandum Opinion and Order filed
this day in Kennedy v. United States, No. 18-826C, the Court has determined that
this case fails to contain any claims within our subject-matter jurisdiction. Our
court does not have jurisdiction over claims regarding t he actions of state or local
governments and officials, claims sounding in tort, crimes, or violations of federal
laws that are not money-mandating. 28 U.S.C. § 1491. The complaint is therefore
DISMISSED pursuant to Rule 12(h)(3) of the Rules of the U nited States Court of
Federal Claims. Plaintiff's motion to proceed in fonna pauperis is hereby
GRANTED. The Clerk shall close the case.

IT IS SO ORDERED.




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